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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                High Valley Investments, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          N/A
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  680 S. Cache St.
                                  Suite 100-8640
                                  Jackson, Wyoming 83001

                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Teton                                                             Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       N/A


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    High Valley Investments, LLC                                                                 Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                       B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                            5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?
     A debtor who is a “small               Chapter 9
     business debtor” must check            Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                               operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8
                                    Yes.
     years?
     If more than 2 cases, attach a
     separate list.                         District                                      When                                  Case number
                                            District                                      When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
                                           Yes.
    business partner or an
    affiliate of the debtor?




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    High Valley Investments, LLC                                                                  Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor      See Attached Rider 1                                          Relationship
                                                   District    Delaware                     When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                              A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal
    property that needs                Yes.
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                      Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                      No


                                                  Yes.        Insurance agency
                                                              Contact name
                                                              Phone



          Statistical and administrative information

13. Debtor's estimation of                      Check one:
    available funds
                                                   Funds will be available for distribution to unsecured creditors.
                                                   After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                           50-99                                           5001-10,000                                 50,001-100,000
                                           100-199                                         10,001-25,000                               More than 100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




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Debtor   High Valley Investments, LLC                                                              Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      09/27/2023
                                                  MM / DD / YYYY


                                           X /s/ John P. Madden                                           John P. Madden
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Sean M. Beach                                                           Date 09/27/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Sean M. Beach
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 1000 N. King Street, Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-571-6600                  Email address      sbeach@ycst.com

                                 4070, Delaware
                                 Bar number and State




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                                                     RIDER 1

                          Pending Bankruptcy Cases Filed by the Debtor and Its Affiliates

                 On the date hereof, each of the related entities listed below (collectively, the “Debtors”),
         including the debtor in this chapter 11 case, filed a petition in the United States Bankruptcy Court
         for the District of Delaware (the “Court”) for relief under chapter 11 of title 11 of the United
         States Code, 11 U.S.C. §§ 101–1532. Contemporaneously with the filing of their voluntary
         petitions, the Debtors filed a motion requesting that the Court jointly administer their
         chapter 11 cases for administrative purposes only.

             Entity Name                               Federal Employer Identification Number (EIN)

             680 North Leadville LLC                                       XX-XXXXXXX

             Bay Hill Terrace, LLC                                         XX-XXXXXXX

             Bethel Road Partners, LLC                                     XX-XXXXXXX

             Big Wood Partners, LLC                                        XX-XXXXXXX

             Bird Drive Partners, LLC                                      XX-XXXXXXX

             Chelsea Park Associates, LLC                                  XX-XXXXXXX

             Collins Park Acreage, LLC                                     XX-XXXXXXX

             Cross Creek Land, LLC                                         XX-XXXXXXX

             Edwards Estate Vineyards, LLC                                 XX-XXXXXXX

             High Valley Investments, LLC                                  XX-XXXXXXX

             Hudson River Private Family Trust
                                                                           XX-XXXXXXX
             Company, LLC

             J. Scott Construction, Inc.                                   XX-XXXXXXX

             Kimberly Gardens, LLC                                         XX-XXXXXXX

             Lupine Road Partners, LLC                                     XX-XXXXXXX

             Midland Self-Storage, LLC                                     XX-XXXXXXX

             North Leadville, LLC                                          XX-XXXXXXX

             Portland Avenue Business Park, LLC                            XX-XXXXXXX

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                                               WRITTEN CONSENT OF THE
                                                     MANAGER

                                                              OF

                                            BAY HILL TERRACE, LLC
                                         BETHEL ROAD PARTNERS, LLC
                                           BIG WOOD PARTNERS, LLC
                                           BIRD DRIVE PARTNERS, LLC
                                         COLLINS PARK ACREAGE, LLC
                                            CROSS CREEK LAND, LLC
                                       EDWARDS ESTATE VINEYARDS, LLC
                                        HIGH VALLEY INVESTMENTS, LLC
                                            KIMBERLY GARDENS, LLC
                                          LUPINE ROAD PARTNERS, LLC
                                         MIDLAND SELF-STORAGE, LLC
                                             NORTH LEADVILLE, LLC
                                     PORTLAND AVENUE BUSINESS PARK, LLC

                                                       September 25, 2023

                    The undersigned, acting in the undersigned’s capacity as the manager (the “Manager”) of
            each of Bay Hill Terrace, LLC, a Delaware limited liability company, Bethel Road Partners, LLC,
            a Delaware limited liability company, Big Wood Partners, LLC, a Delaware limited liability
            company, Bird Drive Partners, LLC, a Delaware limited liability company, Collins Park Acreage,
            LLC, a Delaware limited liability company, Cross Creek Land, LLC, a Delaware limited liability
            company, Edwards Estate Vineyards, LLC, a Delaware limited liability company, High Valley
            Investments, LLC, a Delaware limited liability company, Kimberly Gardens, LLC, a Delaware
            limited liability company, Lupine Road Partners, LLC, a Delaware limited liability company,
            Midland Self-Storage, LLC, a Washington limited liability company, North Leadville, LLC, a
            Delaware limited liability company, and Portland Avenue Business Park, LLC, a Washington
            limited liability company (each, a “Company” and collectively, the “Companies”), hereby takes
            the following actions and adopts, approves, and consents to the following resolutions by written
            consent without a meeting, pursuant to the Delaware Limited Liability Company Act and the
            Washington Limited Liability Company Act, as applicable, and directs that this written consent
            (this “Consent”) be filed with the records of proceedings of the manager of each Company:

                    WHEREAS, the Manager has the authority to bind each of the Companies;

                    WHEREAS, the Manager has reviewed and considered the financial and operational
            condition of each of the Companies, and each of the Companies’ businesses on the date hereof,
            including the assets of each of the Companies, and current and long-term liabilities of each of the
            Companies, and the recommendations of the Companies’ legal and other advisors as to the relative
            risks and benefits of pursuing a bankruptcy proceeding for each of the Companies under the
            provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and
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                    WHEREAS, the Manager has determined that it is in the best interests of each of the
            Companies and the Companies’ stakeholders, creditors, and other interested parties to commence
            a case (with respect to each Company, a “Bankruptcy Case”) under the provisions of chapter 11
            of the Bankruptcy Code.

                    NOW, THEREFORE, BE IT:

            Appointment of Chief Restructuring Officer

                   RESOLVED, that John P. Madden, of Emerald Capital Advisors, Corp. (“Emerald
            Capital”), is hereby appointed as the Chief Restructuring Officer (the “CRO”) of each of the
            Companies, and it is further

                    RESOLVED, that the CRO of each of the Companies shall be authorized and delegated
            the sole and independent authority over the following issues and services with respect to each
            Company without the consent or direction of the Manager:

                             1. Direct day-to-day management of restructuring, sale, liquidation
                                and reorganization or wind-down related efforts of each
                                Company (either in court or out-of-court) (the “Restructuring”),
                                including without limitation any Chapter 11 Restructuring plan,
                                Restructuring financing and claims reconciliation/settlements
                                related thereto and the negotiation and implementation of each
                                of the foregoing;

                             2. Management and control of all cash, cash forecasting, bank
                                accounts, bankruptcy reporting and liquidity management in
                                connection with a Restructuring;

                             3. Negotiation of the terms of any debtor-in-possession or exit
                                financing to each Company in connection with a chapter 11
                                bankruptcy filing and/or Restructuring plan proposed by such
                                Company;

                             4. Negotiation of the terms of any material agreement or settlement
                                between a Company and another party that relates to the
                                Restructuring;

                             5. Pursuit in a Chapter 11 Restructuring of any claims, including
                                litigation claims, a Company might hold;

                             6. Marketing and sale of each of the Company’s saleable assets
                                during the pendency of any chapter 11 commenced by a
                                Company;
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                             7. Causing any bankruptcy case filed under chapter 11 of the
                                Bankruptcy Code by a Company to be converted to a case under
                                chapter 7;

                             8. Performing such other services as may be reasonably requested
                                and/or directed by the Manager from time to time;

                             9.    Providing testimony regarding the foregoing or negotiating and
                                  interfacing with parties, including but not limited to the Office
                                  of the United States Trustee, in connection with any Chapter 11
                                  bankruptcy proceeding commenced by a Company; and

                             10. Taking any and all actions necessary to fulfill the responsibilities
                                 set forth above, including executing all necessary documentation
                                 on behalf of a Company to effectuate the same; and it is further

                    RESOLVED, that, because the CRO and Additional Personnel will require on-site access
            to review books, records, reports and other data located at the offices of each Company and to
            discuss matters with its management and other personnel, each Company will provide full access
            at reasonable times to (a) their computer systems (including reasonable computer services
            support), (b) their banking and cash management systems, and (c) their other professional advisors,
            including their independent accountants and outside counsel; and it is further

                   RESOLVED, that the term of John Madden’s service as CRO, and Emerald Capital’s
            engagement, including the independent and sole authority delegated herein, shall continue through
            and including the duration of the Restructuring; and it is further

            Commencement and Prosecution of Bankruptcy Case

                    RESOLVED, that, in the judgment of the Manager, it is desirable and in the best interests
            of each of the Companies, the creditors of each of the Companies, and other stakeholders and
            interested parties of each of the Companies, that a voluntary petition (the “Petition”) be filed by
            each of the Companies with the United States Bankruptcy Court for the District of Delaware (the
            “Bankruptcy Court”) under the provisions of chapter 11 of the Bankruptcy Code to commence
            each of the Bankruptcy Cases; and it is further

                   RESOLVED, that the filing of the Petition on behalf of each of the Companies be, and
            hereby is, approved and adopted in all respects, and that any officer or manager of the Manager
            (each, an “Authorized Person”), including, without limitation, the CRO, be, and hereby is,
            authorized and empowered on behalf of each of the Companies, to execute, acknowledge, deliver,
            and verify the Petition and to cause the same to be filed with the Bankruptcy Court at such time as
            such Authorized Person may determine; and it is further

                     RESOLVED, that the Authorized Person be, and hereby is, authorized to: (i) execute and
            file all petitions, schedules of assets and liabilities, statements of financial affairs, lists, and other
            papers to take any and all related actions that such Authorized Person may deem necessary or
            proper in connection with the applicable Bankruptcy Case; (ii) execute, acknowledge, deliver, and
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            verify any and all documents necessary or proper in connection with the Petition and to administer
            the applicable Bankruptcy Case in such form or forms as such Authorized Person may deem
            necessary or proper and in order to effectuate the foregoing resolutions; and (iii) engage any
            professionals, including attorneys, accountants, financial advisors, investment bankers, actuaries,
            consultants, brokers, or other experts as such Authorized Person deems necessary or proper to
            accomplish the purposes of the resolutions; and it is further

                    RESOLVED, that the Authorized Person be, and hereby is, authorized, directed, and
            empowered from time to time in the name and on behalf of the applicable Company, to perform
            the obligations of such Company under the Bankruptcy Code, with all such actions to be performed
            in such manner, and all such certificates, instruments, guaranties, notices, and documents to be
            executed and delivered in such form, as the Authorized Person performing or executing the same
            shall approve, and the performance or execution thereof by such Authorized Person shall be
            conclusive evidence of the approval thereof by such Authorized Person and by the applicable
            Company; and it is further

                    RESOLVED, that the Authorized Person be, and hereby is, authorized, directed, and
            empowered from time to time in the name and on behalf of the applicable Company, to cause such
            Company to enter into, execute, deliver, certify, file, record, and perform such agreements,
            instruments, motions, affidavits, applications for approvals or rulings of governmental or
            regulatory authorities, certificates, or other documents, to pay all expenses, including filing fees,
            and to take such other actions, as in the judgment of the Authorized Person, shall be necessary,
            proper, or desirable to prosecute to a successful completion the Bankruptcy Case and to effectuate
            the restructuring or liquidation of such Company’s debt, other obligations, organizational form, or
            structure and ownership of such Company, all consistent with the foregoing resolutions and to
            carry out and put into effect the purposes of these resolutions, and the transactions contemplated
            by these resolutions, their authority thereunto to be evidenced by the taking of such actions; and it
            is further

            Retention of Professionals

                    RESOLVED, that the engagement of the law firm of Young Conaway Stargatt & Taylor,
            LLP (“Young Conaway”) is hereby authorized and approved and Young Conaway be, and hereby
            is, authorized, directed, and empowered to represent each of the Companies as general
            restructuring and bankruptcy counsel to represent and assist each of the Companies in carrying out
            its duties under the Bankruptcy Code, and to take any and all actions to advance each of the
            Companies’ rights, including the preparation of pleadings and filings in the Bankruptcy Case; and
            in connection therewith, an Authorized Person be, and hereby is, authorized, directed, and
            empowered, on behalf of and in the name of each of the Companies to execute appropriate
            retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
            Bankruptcy Case, and to cause to be filed an appropriate application for authority to retain the
            services of Young Conaway; and it is further

                   RESOLVED, that the engagement of Emerald Capital to provide each of the Companies
            with a CRO and additional support personnel is hereby authorized and approved, and Emerald
            Capital be, and hereby is, authorized, directed, and empowered to assist each of the Companies in
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            carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the
            each of the Companies’ rights and obligations in connection with the Bankruptcy Case; and in
            connection therewith, an Authorized Person be, and hereby is, authorized, directed, and
            empowered, on behalf of and in the name of the Company, to execute appropriate retention
            agreements, pay appropriate retainers, if required, prior to and immediately upon the filing of the
            Bankruptcy Case, and to cause to be filed an appropriate motion or application for authority to
            retain the services of Emerald Capital; and it is further

                     RESOLVED, that the engagement of Gibson, Dunn & Crutcher LLP (“Gibson Dunn”) is
            hereby authorized and approved and Gibson Dunn be, and hereby is, authorized, directed, and
            empowered to serve as special counsel to represent each of the Companies and assist each of the
            Companies in carrying out its duties under the Bankruptcy Code, and to take any and all actions
            to advance the Companies’ rights, including the preparation of pleadings and filings in the
            Bankruptcy Case; and in connection therewith, the Authorized Person be, and hereby is,
            authorized, directed, and empowered, on behalf of and in the name of each of the Companies to
            execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
            the filing of the Bankruptcy Case, and to cause to be filed an appropriate application for authority
            to retain the services of Gibson Dunn; and it is further

                    RESOLVED, that each Authorized Person be, and hereby is, authorized, directed, and
            empowered, on behalf of and in the name of the Companies to employ any other individual or firm
            as professionals, consultants, financial advisors, or investment bankers to the Companies as are
            deemed necessary to represent and assist each Company in carrying out its duties under the
            Bankruptcy Code, and in connection therewith, the Authorized Person be, and hereby is,
            authorized, directed, and empowered, on behalf of and in the name of the Companies to execute
            appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
            filing of the Bankruptcy Case, and to cause to be filed an appropriate application or motion for
            authority to retain the services of such individual or firms; and it is further

            Postpetition Financing

                    RESOLVED, that in connection with the commencement of the Bankruptcy Case by each
            of the Companies, the Authorized Person shall be, and hereby is, authorized, directed, and
            empowered, in the name and on behalf of each of the Companies, as debtor and debtor in
            possession, to negotiate, execute, and deliver agreements for the use of cash collateral in
            connection with the Bankruptcy Case, which agreement(s) may require the Companies to
            acknowledge the debt and liens of existing loans, grant liens, and pay interest to the Companies’
            existing lender(s); and in connection therewith, the Authorized Person is hereby authorized and
            directed to execute appropriate agreements and related ancillary documents; and it is further

                    RESOLVED, that in connection with the commencement of the Bankruptcy Cases by the
            Companies and certain affiliates of the Companies, the Authorized Person shall be, and hereby is,
            authorized, directed, and empowered, in the name and on behalf of each of the Companies, as
            debtor and debtor in possession, to negotiate, execute, and obtain postpetition financing, including
            under debtor-in-possession credit facilities; and to enter into any guarantees and to pledge and
            grant liens on its assets as may be contemplated by or required under the terms of such postpetition
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            financing; and in connection therewith, the Authorized Person is hereby authorized and directed
            to execute appropriate loan agreements and related ancillary documents; and it is further

            General

                    RESOLVED, that the Authorized Person be, and hereby is, authorized, directed, and
            empowered, on behalf of and in the name of each of the Companies, to perform the obligations of
            each of the Companies under the Bankruptcy Code, with all such actions to be performed in such
            manner, and all such certificates, instruments, guaranties, notices, and documents to be executed
            and delivered in such form, as the Authorized Person performing or executing the same shall
            approve, and the performance or execution thereof by such Authorized Person shall be conclusive
            evidence of the approval thereof by such Authorized Person and by each of the Companies; and it
            is further

                    RESOLVED, that the Authorized Person be, and hereby is, authorized, directed, and
            empowered, in the name of and on behalf of each of the Companies, to cause each of the
            Companies to enter into, execute, deliver, certify, file, record, and perform under such agreements,
            motions, affidavits, applications for approvals or rulings of governmental or regulatory authorities,
            certificates, or other documents, to pay all expenses, including filing fees, and to take such other
            actions as in the judgment of such Authorized Person, shall be necessary, proper, and desirable to
            prosecute a successful completion of the Bankruptcy Case and to effectuate the restructuring or
            liquidation of each of the Company’s debts, other obligations, organizational form and structure
            and ownership of each Company, all consistent with the foregoing resolutions and to carry out and
            put into effect the purposes of which the foregoing resolutions, and the transactions contemplated
            by these resolutions, their authority thereunto to be evidenced by the taking of such actions; and it
            is further

                    RESOLVED, that the Authorized Person be, and hereby is, authorized, directed, and
            empowered, on behalf of and in the name of each of the Companies, to take such actions and
            execute and deliver such documents as may be required or as the Authorized Person may determine
            to be necessary, appropriate, or desirable to carry out the intent and purpose of the foregoing
            resolutions or to obtain the relief sought thereby, including, without limitation, the execution and
            delivery of any consents, resolutions, petitions, schedules, lists, declarations, affidavits, and other
            papers or documents, with all such actions to be taken in such manner, and all such petitions,
            schedules, lists, declarations, affidavits, and other papers or documents to be executed and
            delivered in such form as the Authorized Person shall approve, the taking or execution thereof by
            any Authorized Person being conclusive evidence of the approval thereof by the Authorized Person
            and such Company; and it is further

                    RESOLVED, that all of the acts and transactions relating to matters contemplated by the
            foregoing resolutions, which acts and transactions would have been authorized and approved by
            the foregoing resolutions except that such acts and transactions were taken prior to the adoption of
            these resolutions, be, and they hereby are, in all respects confirmed, approved, and ratified; and it
            is further
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                   RESOLVED, that facsimile, .pdf copies, or other electronic forms of signatures to this
            consent shall be deemed to be originals and may be relied on to the same extent as the originals.


                                                    [Signature page follows]
DocuSign Envelope ID: 59D1E37C-39D5-437E-8C39-BA2EB1E7C90E
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                   IN WITNESS WHEREOF, the undersigned, as the manager of each of the Companies,
            has executed this written consent effective as of the date first written above.


                                                                               Manager:

                                                                               680 NORTH LEADVILLE LLC




                                                                               By: __________________________
                                                                                      Name: Scott J. Edwards
                                                                                      Title: Manager




             [Signature Page to Written Consent of Manager of Bay Hill Terrace, LLC, Bethel Road Partners, LLC, Big Wood
              Partners, LLC, Bird Drive Partners, LLC, Collins Park Acreage, LLC, Cross Creek Land, LLC, Edwards Estate
            Vineyards, LLC, High Valley Investments, LLC, Kimberly Gardens, LLC, Lupine Road Partners, LLC, Midland Self-
                             Storage, LLC, North Leadville, LLC, and Portland Avenue Business Park, LLC]
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                                        Chapter 11

             HIGH VALLEY INVESTMENTS, LLC, et al.,1                        Case No. 23-              (       )

                                                Debtors.                   (Joint Administration Requested)


             CONSOLIDATED CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY
              HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                      Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

         Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state

         as follows:

                      1.     Non-Debtor Scott J. Edwards Living Trust (“Living Trust”), a Wyoming revocable

         trust, owns an 80% membership interest in Debtor High Valley Investments, LLC (“HVI”), whose

         address is 680 S. Cache St., Suite 100-8640, Jackson, Wyoming 83001, and non-Debtor Scott J.

         Edwards Irrevocable Decanter Trust (“Decanter Trust”), a Wyoming irrevocable trust, owns a

         20% membership interest in HVI.

                      2.     HVI owns 100% of the membership interests in each of the following Debtors:

                                    Collins Park Acreage, LLC
                                     680 S. Cache St., Suite 100-8640
                                     Jackson, Wyoming 8300




         1
               The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
               number, are: High Valley Investments, LLC (6995); Bethel Road Partners, LLC (5488); Edwards Estate
               Vineyards, LLC (7304); Kimberly Gardens, LLC (6393); Collins Park Acreage, LLC (6988); Cross Creek Land,
               LLC (0875); Portland Avenue Business Park, LLC (1732); Chelsea Park Associates, LLC (6389); Midland Self-
               Storage, LLC (6824); Bay Hill Terrace, LLC (4144); Bird Drive Partners, LLC (9827); Lupine Road Partners,
               LLC (5498); North Leadville, LLC (7771); Big Wood Partners, LLC (9037); Hudson River Private Family Trust
               Company, LLC (7784); 680 North Leadville LLC (3763); and J. Scott Construction, Inc. (4875). For purposes
               of these chapter 11 cases, the debtors’ service address is 1830 112th St. E., Suite F, Tacoma, WA 98445-3747.
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                              Cross Creek Land, LLC
                               680 S. Cache St., Suite 100-8640
                               Jackson, Wyoming 83001

                              Chelsea Park Associates, LLC
                               1830 112th St. E., Suite F
                               Tacoma, WA 98445-3747

                              Bay Hill Terrace, LLC
                               680 S. Cache St., Suite 100-8640
                               Jackson, Wyoming 83001

                              680 North Leadville LLC
                               1830 112th St. E., Suite F
                               Tacoma, WA 98445-3747

                3.     With respect to each of the following Debtors, (a) HVI owns 100% of the equity

         interests and 0% of the voting membership interests; and (b) Decanter Trust owns 0% of the equity

         interests and 100% voting membership interests:

                              Kimberly Gardens, LLC
                               680 S. Cache St., Suite 100-8640
                               Jackson, Wyoming 83001

                              Midland Self-Storage, LLC
                               1830 112th St. E., Suite F
                               Tacoma, WA 98445-3747

                              Portland Avenue Business Park, LLC
                               1830 112th St. E., Suite F
                               Tacoma, WA 98445-3747

                4.     Living Trust owns 100% of the membership interests in Debtor Edwards Estate

         Vineyards, LLC, whose address is 680 S. Cache St., Suite 100-8640, Jackson, Wyoming 83001.

                5.     Decanter Trust owns 100% of the membership interests in the following Debtors:

                              Bird Drive Partners, LLC
                               680 S. Cache St., Suite 100-8640
                               Jackson, Wyoming 83001




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                             Lupine Road Partners, LLC
                              680 S. Cache St., Suite 100-8640
                              Jackson, Wyoming 83001

                             North Leadville, LLC
                              680 S. Cache St., Suite 100-8640
                              Jackson, Wyoming 83001

                             Big Wood Partners, LLC
                              680 S. Cache St., Suite 100-8640
                              Jackson, Wyoming 83001

                6.     HVI owns 69% of the membership interests in Debtor Bethel Road Partners, LLC

         (“Bethel”), whose address is 680 S. Cache St., Suite 100-8640, Jackson, Wyoming 83001; and

         Living Trust owns 31% of the membership interests in Bethel.

                7.     Non-Debtor Scott J. Edwards, in his individual capacity, is (a) the sole member of

         Debtor Hudson River Private Family Trust Company, LLC, whose address is 680 S. Cache St.,

         Suite 100-8640, Jackson, Wyoming 83001; and (b) the sole shareholder of Debtor J. Scott

         Construction, Inc., whose address is 1830 112th St. E., Suite F, Tacoma, WA 98445-3747.




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  Fill in this information to identify the case:
  Debtor name High Valley Investments, LLC, et al.
  United States Bankruptcy Court for the:                                                                                                      Check if this is an
                                                 DISTRICT OF DELAWARE
  Case number (if known):                                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

  Name of creditor and complete mailing        Name, telephone number and          Nature of claim     Indicate if claim   Amount of claim
  address, including zip code                  email address of creditor contact   (for example,        is contingent,     If the claim is fully unsecured, fill in only unsecured
                                                                                   trade debts, bank   unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                                   loans,                  disputed        claim amount and deduction for value of collateral or
                                                                                   professional                            setoff to calculate unsecured claim.
                                                                                   services, and                           Total claim, Deduction for              Unsecured claim
                                                                                   government                              if partially      value of
                                                                                   contracts)                              secured           collateral or
                                                                                                                                             setoff
  Hardcore Carpentry, LLC                      Jaime Pedraza               Trade Claim                                                                                $44,694.00
  P.O. Box 4523                                hardcorecarpentry@gmail.com
  Ketchum, ID 83340
  Tacoma Public Utilities                      (253) 502-8600                      Utilities                                                                            $1,792.18
  Pierce County Sewer                                                              Utilities                                                                            $1,778.90
  P.O. Box 11620
  Tacoma, WA 98411
  Spanaway Water Company                       (253) 531-9024                      Utilities                                                                              $364.87
  P.O. Box 1000
  Spanaway, WA, 98387
  City of Ketchum                                                                  Utilities                                                                              $342.59
  P.O. Box 2315
  Ketchum, ID, 83340
  A.P. Alarm Partnsale                                                             Trade Claim                                                                            $296.31
  Idaho Power                                                                      Utilities                                                                              $250.00
  P.O. Box 3909
  Hailey, Idaho 83333
  Elmhurt Mutual Power & Light Co.             (360) 876-5139                      Utilities                                                                              $133.32
  219 Prospect Street
  Orchard, WA 98366
  City of Port Orchard Utility                                                     Utilities                                                                                 $28.00
  P.O. Box 1740
  Ketchum, ID 83340
  Resource Transition Consultants, LLC         Kevin Hanchett                      Judgment                                                                       Undetermined
  4100 194th Street SW, Suite 208              hanchett@rtcreceivers.com
  Lynnwood, WA 98036-4613                      (425) 678-8366
  American Express, Inc.                                                           Unsecured                                                                      Undetermined
                                                                                   Liability
  Bank of America, N.A.                                                            Unsecured                                                                      Undetermined
                                                                                   Liability
  JPMorgan Chase Bank, N.A.                                                        Unsecured                                                                      Undetermined
                                                                                   Liability




Official form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Fill in this information to identify the case:

Debtor name         High Valley Investments, LLC, et. al.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration    Consolidated Corporate Ownership Statement and List of Equity Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       09/27/2023                      X /s/ John P. Madden
                                                           Signature of individual signing on behalf of debtor

                                                            John P. Madden
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
